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 7
 8                           UNITED STATES DISTRICT COURT
 9                          NORTHERN DISTRICT OF CALIFORNIA
10   BRIAN WHITAKER,                       ) Case No.: 4:21-cv-8767-KAW
                                           )
11         Plaintiff,                      )
                                           ) NOTICE OF SETTLEMENT
12   v.                                    )
     MARIN CITY SUBWAY, LLC, a California ))
13   Limited Liability Company,            )
14          Defendants,                    )
                                           )
15
16          The plaintiff hereby notifies the court that a partial settlement has been reached
17   in the above-captioned case as to damages only. The case will proceed via noticed
18   motion as to attorney fees/costs.      The parties would like to avoid any additional
19   expense, and further the interests of judicial economy.
20          The plaintiff, therefore, applies to this Honorable Court to vacate all currently set
21   dates with the expectation that the Joint Stipulation for Dismissal with prejudice as to all
22   parties will be filed after the motion for fees/costs is heard and settlement is funded.
23                                    CENTER FOR DISABILITY ACCESS
24
25   Dated: March 04,2022             /s/ Amanda Seabock
26                                    Amanda Seabock
                                      Attorney for Plaintiff
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28


     Notice of Settlement             -1-       4:21-cv-8767-KAW
